Case 1:05-cv-04622-DLI-RML                 Document 85-4      Filed 12/19/06       Page 1 of 35 PageID
                                                 #: 2110




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------- x
TZVI WEISS, et al.,
                                                      CV 05-4622 (CPS) (KAM)
                                  Plaintiffs,
                                                      DECLARATION OF
                    - against -                       LAWRENCE B. FRIEDMAN

NATIONAL WESTMINSTER BANK PLC,

                                  Defendant.



               Lawrence B. Friedman declares as follows:

               1.        I am a Member of the Bars of the State of New York and of this Court and

of the law firm of Cleary Gottlieb Steen & Hamilton LLP, attorneys for defendant National

Westminster Bank Plc ("NatWest"). I make this declaration in support of NatWest's motion to

compel production of documents and answers to interrogatories.

               2.        Attached as Exhibit A is a true and correct copy of Plaintiffs' (amended)

Objections and Responses to NatWest's First Set of Interrogatories, dated August 14, 2006.

               3.        Attached as Exhibit B is a true and correct copy of NatWest's First Set of

Interrogatories, dated July 5, 2006.

               4.        Attached as Exhibit C is a true and correct copy of Plaintiffs' Objections

and Responses to NatWest's Initial Request for the Production of Documents, dated August 14,

2006.
Case 1:05-cv-04622-DLI-RML            Document 85-4         Filed 12/19/06       Page 2 of 35 PageID
                                            #: 2111



              5.      Affached as Exhibit D is a true and correct copy of an excerpt from the

deposition transcript of Steven Averbachi, dated March 1, 2006.

              I declare under penalty of pei-ury that the foregoing is true and correct.



Dated: October 18, 2006
       New York, New York



                                                 ka~rnce B. Friedman
Case 1:05-cv-04622-DLI-RML   Document 85-4   Filed 12/19/06   Page 3 of 35 PageID
                                   #: 2112




                      EXHIBIT A
Case 1:05-cv-04622-DLI-RML                  Document 85-4     Filed 12/19/06        Page 4 of 35 PageID
                                                  #: 2113




UNIT13D STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

TZVI WEISS, et al.,
                                                          Case No. CV 05 4622
                              Plaintiffs,

       -against-                                    :     Honorable Charles P. Sifton

NATIONAL WESTMINSTER BANK, PLC,                           Magistrate Judge Kiyo A. Matsumoto

                              Defendant.



                     PLAINTIFFS' OBJECTIONS AND RESPONSES TO
                   DEFENDAN!T NATIONAL WESTMINSTER BANK, PLC'S
                           MMRS SET OF INTERROGATORIES

       Plaintiffs in the above-captioned case ("Plaintiffs"), by their undersigned counsel, object

and respond pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure to Defendant

National Westminster Bank, Plc ("Defendant" or "NatWest")'s First Set of Interrogatories

("Interrogatories") as follows:

                                   GENERAL OBJECTIONS

       A.      Plaintiffs object to responding to Defendant's Interrogatories as being premature

to the extent they are contention interrogatories. While such interrogatories are generally

permitted, the obligation to respond should be postponed until the end of the discovery period,

absent a showing by the requesting party of particular need. See gen~erally In re Convergeni

Technologies Security Litig., 108 F.R.D. 328, 338 (N.D. Calif. 1985); see also Manual for

Comiplex Litigation, Pr, §21.33 at p-62 (2000) (Contention interrogatories may serve a useful

purpose in narrowing issues for trial "especially when served after adequate opportunity for

relevant discovery.") Plaintiffs have not completed any discovery with NatWest. Therefore,
Case 1:05-cv-04622-DLI-RML               Document 85-4          Filed 12/19/06        Page 5 of 35 PageID
                                               #: 2114




Plaintiffs will not be a position to offer fall and useful answers to contention interrogatories until

Defendant produces responsive documents to Plaintiffs' requests. Responding to contention

interrogatories at this stage of the litigation poses an undue burden on Plaintiffs, who will be

forced to answer the Interrogatories a second time after the production of discovery is complete.

Defendant will not be prejudiced by the delay because it has full access to information about its

own behavior.

        B.      Plaintiffs object to each and every Interrogatory, including the accompanying

instructions and definitions, to the extent they seek to impose discovery burdens or duties upon

Plaintiff-s greater than the burdens and duties imposed upon Plaintiffs pursuant to the Federal

Rules of Civil Procedure and the Local Rules of the United States District Court for the Eastern

District of New York.

        C.      Plaintiffs object to each and every Interrogatory, including the accompanying

instructions and definitions, to the extent they seek information not within the possession,

 custody, or control of Plaintiffs.

         D.      Plaintiffs object to each and every Interrogatory, including the accompanying

 instructions and definitions, to the extent they seek disclosure of information or documents

 protected by the attorney-client privilege or the attorneys' work product doctrine, or are

 otherwise protected by an applicable privilege, rule or statute. Any inadvertent disclosure shall

 not be deemed a waiver of any privilege with respect to such information.

         E.      Plaintiffs object to each and every Interrogatory, including the accompanying

 instructions and definitions, to the extent they seek information and documents as easily

 available to NatWest as Plaintiffs or are obtainable from some other source in some other




                                                   2
Case 1:05-cv-04622-DLI-RML               Document 85-4         Filed 12/19/06      Page 6 of 35 PageID
                                               #: 2115




(including, but not limited to, the public record) that is more convenient, less burdensome, and

less expensive.

        F.        Plaintiffs object to the Interrogatories, together with their instructions and

definitions, to the extent they seek information and things that are already in the possession,

custody or control of the Defendant.

        G.        Plaintiffs object to the Interrogatories to the extent that they seek documents or

things without a reasonable time-period lim~itation.

        H.        Each of the foregoing General Objections is hereby incorporated by reference in

response to each Interrogatory whether or not a further specific objection is made with respect to

a specific Interrogatory.

             OBJECrTIONS AN~D RESPONSES TO SPECIFIC M~lERROGATORIES

INTERROGATORY NO. 1:

Identify the persons and entities that supplied, directly or ind'rectly, or otherwise participated,
directly or indirectly, in obtaining on behalf of Plaintiffs the documents called for by Request
Numbers 1, 4 and 7-18 in NatWest's Initial Request for the Production of Documents, dated July
5, 2006.

        OBJECTION AlND RESPONSE TO INTERROGATORY NO. 1:

        Plaintiffs object to this Interrogatory as being overbroad, burdensome, harassing, irrelevant

 to the claim or defense of any party and not reasonably calculated to lead to the discovery of

 admissible evidence. Plaintiffs specifically object to the terms 'directly" and "indirectly" in this

 interrogatory as being vague. Plaintiffs further object to this Interrogatory on the grounds that it

 seeks investigatory materials protected by the attorney work product doctrine. The methods and

 sources by which Plaintiffs' attorneys have and/or may choose to prepare their case are protected

 from disclosure and do not constitute factual information to which NatWest is entitled.




                                                   3
Case 1:05-cv-04622-DLI-RML                 Document 85-4          Filed 12/19/06        Page 7 of 35 PageID
                                                 #: 2116




JINTERROGATORY NO. 2:

Identify all fact witnesses on whom Plaintiffs intend to rely at trial.

        OBJECTION AND RESPONSE TO INTERROGATORY NO. 2:

        Plaintiffs object to this Jntern-gatory as being overbroad, burdensome, and premature at this

time as discovery has recently commenced and Plaintiffs are not in a position to determine which

fact witnesses will be called to testify at trial.


INTERROGATORY NO. 3:

Identify all expert witnesses on whom Plaintiffs intend to rely at trial.

        OBJECTION AND RESPONSE TO INTERROGATORY NO. 3:

        Plaintiffs object to this Interrogatory as being vague, overbroad, burdensome, and premature

at this time as discovery has recently cormmenced and Plaintiffs are not in a position to determine

which expert witnesses will be called to testify at trial. Plaintiffs fturther object to this request to the

extent it seeks investigatory materials protected by the attorney work product doctrine. Plaintiffs

will disclose expert witnesses in accordance with Fed. R. Civ. P. 26(a)(2)(c).


INTERROGATORY NO. 4:

Explain in detail the factual bases for Plaintiffs' allegations concerning (i) the identity of the
persons and/or entities that perpetrated the attacks that caused Plaintiffs' injuries, (ii) how and in
what farms and by what means such persons and/or entities received material support and/or
resources from NatWest; and (iii) how and by what means such material support and/or
resources proximately caused Plaintiffs injuries.

        OBJECTION AND RESPONSE TO INTERROGATORY NO. 4:

        Plaintiffs object to Interrogatory No. 4 as unduly vague and overbroad anid on the basis of

General Objection A as a premature contention interrogatory.                Plaintiffs also object to this

Interrogatory to the extent that it calls for a legal conclusion. Plaintiffs fur-ther object to this



                                                     4
Case 1:05-cv-04622-DLI-RML             Document 85-4          Filed 12/19/06       Page 8 of 35 PageID
                                             #: 2117




Interrogatory to the extent it seeks investigatory materials protected by the attorney work product

doctrine.


INTERROGATORY NO. 5:

Identify all persons who assisted in preparing responses to these Interrogatories and all documents
considered, read, referred to, discussed or reviewed in preparing responses to these Interrogatories.

        OBJECTION AND RESPONSE TO INTERROGATORY NO. 5:

        Plantiffs object to this Interrogatory as being vague, overbroad, burdensome, harassing,

irrelevant to the claim or defense of any party, and not reasonably calculated to lead to the

discovery of admissible evidence. Plaintiffs further object to this Interrogatory to the extent it

seeks investigatory materials protected by the attorney work product doctrine.


Date: August 14, 2006


                                                            OSEN & ASSOCIATE, LLC



                                                     By     Auli~
                                                                M      s (GO-5790)
                                                             Jo shuaNS    tter (JG-01 84)
                                                             Peter Raven-Hansen, Of Counsel
                                                            Aaron Schlanger (AS-93 72)
                                                            700 Kinderkamack Road
                                                            Oradell, New Jersey 07649
                                                            (201) 265-6400

                                                             KOHN, SWIFT & GRAF, P.C.
                                                             Robert A. Swift
                                                             Steven M. Steingard
                                                             One South Broad Street, Suite 21 00
                                                             Philadelphia, PA 19107
                                                             (215) 238-1700




                                                 5
Case 1:05-cv-04622-DLI-RML   Document 85-4   Filed 12/19/06       Page 9 of 35 PageID
                                   #: 2118



                                             GLANCY BINKOW &
                                             GOLDBERG LLP
                                             Andrew D. Friedman (AF-6222)
                                             Of Counsel
                                             Neil A. Dublisnky
                                             Of Counsel
                                             430 Park Avenue
                                             New York, New York 10022
                                             (212) 308-6300

                                             Attorneys for Plaintiffs




                                    6
Case 1:05-cv-04622-DLI-RML              Document 85-4         Filed 12/19/06        Page 10 of 35 PageID
                                              #: 2119




                                 CERTMFCATE, OF SERVICE

        1, Aaron Schlanger-, hereby certify that a true and correct copy of Plaintiffs' Objections

 and Responses to Defendant National Westminster Bank, Pie's First Set of Interrogatories was

 served via electronic mail and first class mail on this 14th day of August 2006, on the following:


                               Lawrence B. Friedman, Esq.
                               CLEARY GOTTLIEB STEEN & HAMILTON LLP
                               One Liberty Pl aza
                               New York, New York 10006




                                              Aaron Schlanger              10
Case 1:05-cv-04622-DLI-RML   Document 85-4   Filed 12/19/06   Page 11 of 35 PageID
                                   #: 2120




                       EXHIBIT B
Case 1:05-cv-04622-DLI-RML                      Document 85-4     Filed 12/19/06       Page 12 of 35 PageID
                                                      #: 2121




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


TZVI WEISS, etal.,

                                  Plaintiffs,
                    - against -                               CV 05-4622 (CPS) (KAW

NATIONAL WESThMTNST-ER BANK PLC,

                                  Defendant.
                                                      x
   NATIONAL WESTMINSTER BANK PLC'S FIRST SET OF INTE.RROGATORIIES

               PLEASE TAKE NOTICE that, in accordance with the Court's June 19, 2006

Order, and pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, defendant

National Westminster Bank PLC ("NatWest"), by its undersigned counsel, hereby requests that

Plaintiffs answer under oath the interrogatories set forth below within thirty days of service

hereof.

                                                DEFINITIONS

               NatWest incorporates by reference herein the Uniform Definitions in Discovery

Requests set out in Rule 26.3 of the Local Civil Rules of the United States District Courts for the

Southern and Eastern Districts of New York.

          1.    "Identify," when referring to a person or entity, means the response must state, to

the extent known, the person's or entity's funl name, present or last known address, telephone

number and, in addition, when referring to a natural person, the person's present or last known

place of employment and title.
Case 1:05-cv-04622-DLI-RML                 Document 85-4          Filed 12/19/06        Page 13 of 35 PageID
                                                 #: 2122




       2.         "Identify," when referring to a document, means the response must state, to the

extent known, (i) the type of document; (ii) the date of the document; (iii) the author(s),

addressee(s) and recipient(s) of the document, and, where not apparent, the relationship of the

author(s), addressee(s) and recipient(s) to one another; and Qiv) the subject matter of the

document.

       3.         "Plaintiffs" means the named plaintiffs herein, their agents, including their

attorneys, and any person or entity associated with, employed by, or acting on their behalf.

       4.         "Personf' means any natural person or any business, legal or governmental entity

or association.

       5.         "All" and "each" shall be construed as "all and each."

       6.         "Include," "includes" and "including" shall be construed to mean "without

limitation."

        7.        "And"' and "or" shall be construed conjunctively or disjunctively as necessary to

make the requests inclusive rather than exclusive.

        8.        "Concerning" means relating to, referring to, describing, evidencing or

constituting.

        9.        The use of the singular form of any word includes the plural and vice versa. The

past tense shall include the present tense and vice versa.

                                          INSTRUCTIONS

        1.        No part of an interrogatory shall be left unanswered merely because an objection

is made to another part of the interrogatory.




                                                    2
Case 1:05-cv-04622-DLI-RML                Document 85-4           Filed 12/19/06           Page 14 of 35 PageID
                                                #: 2123




         2.      If any interrogatory cannot be answered in full after exercising due diligence to

 secure the information to do so, answer the interrogatory to the extent possible, specifying any

 inability to answer the remainder of any such interrogatory and stating all information or

 knowledge presently available concerning the unanswered portion of said interrogatory.

         3.      If any interrogatory demands an answer that is 'withheld on the basis of a claim of

 privilege, work product or any other reason, (i) answer any portion of the interrogatory that is not

 subject to such a claim and indicate with specificity and particularity the basis of said

 withholding; and CHi) provide the information required by Rule 26.2 of the Local Civil Rules of

 the United States District Courts for the Southern and Eastern Districts of New York.

         4.      The interrogatories herein shall be deemed continuing in nature, and if any

 information is obtained between the time that answers are supplied and the time of trial,

 supplemental or amended answers must be made in accordance with Rule 26(e) of the Federal

 Rules of Civil Procedure.

                                       DiTERROGATORIES
         1.      Identify the persons and entities that supplied, directly or indirectly, or otherwise

 participated, directly or indirectly, in obtaining on behalf of Plaintiffs the documents called for

 by Request Numbers 1,4 and 7-18 in NatWest's Initial Request for the Production of

 Documents, dated July 5, 2006.

         2.      Identify all fact witnesses on whom Plaintiffs intend to rely at trial.

         3.      Identify all expert witnesses on whom Plaintiffs intend to rely at trial.

        4.       Explain in detail the factual bases for Plaintiffs' allegations concerning (i) the

 identity of the persons and/or entities that perpetrated the attacks that caused Plaintiffs' injuries,




                                                   3
Case 1:05-cv-04622-DLI-RML              Document 85-4             Filed 12/19/06     Page 15 of 35 PageID
                                              #: 2124




(ii) how and in what forms and by what means such persons and/or entities received material

support and/or resources from NatWest; and (iii) how and by what means such material support

and/or resources proximately caused Plaintiffs' injuries.

        5.      Identify all persons who assisted in preparing responses to these Interrogatories

and all documents considered, read, referred to, discussed or reviewed in preparing responses to

these Interrogatories.

Dated: New York, New York
       July 5, 2006

                                          Respectfuly submitted,
                                          CLEARY GOTTLIEB STEEN & HAMILTON LLP


                                          By:         OAA6tLC-.    a
                                                      JEA I.Blackman (B 3846)
                                                Lawrence B. Friedman (LF 9978)
                                                Members of the Firm

                                                One Liberty Plaza
                                                New York, New York 10006
                                                (212) 225-2000
                                                Attorneys for Defendant
                                                National Westminster Bank PLC

Of Counsel:

Sanjay Mody




                                                  4
Case 1:05-cv-04622-DLI-RML   Document 85-4   Filed 12/19/06   Page 16 of 35 PageID
                                   #: 2125




                        EXHIBIT C
Case 1:05-cv-04622-DLI-RML              Document 85-4        Filed 12/19/06       Page 17 of 35 PageID
                                              #: 2126




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  TZVI WEISS, et al.,
                                                            Case No. CV 05 4622
                                 Plaintiffs,

         -against-                                          Honorable Charles P. Sifton

  NATIONAL WESTMINSTER BANK, PLC,                           Magistrate Judge Kiyo A. Matsumoto

                                 Defendant.



                      PLAINTWIFS OBJECTIONS AND) RESPONSES
                TO DEFENDANT NATIONAL WESTNIINSTE R BANK, PLC'S
               NITI[AL REQUEST FOR THEPRODUCIION OF DOCUM[ENTS

         Plaintiffs in the above-captioned case ("Plaintiffs"), by their undersigned counsel, object

  and respond pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure to Defendant

  National Westminster Bank, Plc ("NatWest")s Initial Request for the Production of Documents

  (the "Document Requests" and individually a "Request" or "Document Request') as follows:

                                      GENERAL OBJECTIONS

         A.      Plaintiffs object to each and every Request, and to the accompanying instructions

  and definitions, to the extent that NatWest seeks to impose discovery burdens or duties upon

  Plaintiffis greater than the burdens and duties imposed upon Plaintiffs pursuant to the Federal

  Rules of Civil Procedure and the Local Rules of the United States District Court for the Eastern

  District of New York.

         B.      Plaintiffs object to each and every Request, and to the accompanying instructions

  and definitions, to the extent Plaintiff is requested to provide information not within the

  possession, custody, or control of Plaintiffs.
Case 1:05-cv-04622-DLI-RML              Document 85-4          Filed 12/19/06      Page 18 of 35 PageID
                                              #: 2127




        C.      In the event that Plaintiffs agree to produce documents in response to any specific

 Request, such agreement should not be construed as meaning that responsive documents actually

 exist and should only be construed as indicating that each Plaintiff will provide responsive

 documents that: (1) are within their possession, custody, or control; (2) are not privileged or

 otherwise protected and/or exempt from production; and (3) can be located, copied and produced

 through a reasonable and good-faith investigation on the part of Plaintiffs.

        D.      Plaintiffs object to each and every Request, and to the accompanying instructions

 and definitions, to the extent Plaintiffs are requested to disclose any informnation or documents

 protected by an applicable privilege, qualified immunity, rule, or statute, including, but not

 limited to, the attorney-client privilege or the attorneys' work,product doctrine. Any inadvertent

 disclosure of privileged or protected information or documents shall not be deemed a waiver of

 any privilege with respect to such information or documents.

        E.      Plaintiffs object to each and every Request, and to the accompanying instructions

 and definitions, to the extent Plaintiffs are requested to provide information and documents that

 are in Defendant's possession or are as easily available to Defendant as Plaintiffs, or are

 obtainable from some other source or in some other manner that is more convenient, less

 burdensome, and less expensive.

         F.     Plaintiffs object to each and every Request, and to the accompanying instructions,

 and definitions, to the extent Defendant seeks the production of documents and things that are

 already in the possession, custody or control of the Defendant.

         G.      Plaintiffs specifically reserve the right to make any use of, or introduce at any

 hearing or trial, information or documents responsive to the Requests but discovered and

 produced subsequent to the date of these Responses.



                                                   2
Case 1:05-cv-04622-DLI-RML               Document 85-4          Filed 12/19/06        Page 19 of 35 PageID
                                               #: 2128




         H.     The responses to each Request set forth below ("Responses") are made without in

 any way waiving, or intending to waive:

                1.        any objections to the competency, relevance, materiality, privilege or

                          admissibility of any documents produced or written responses made in

                          response to Defendant's requests or the subject matter;

                2.        the right to object on any ground to the use of the documents produced in

                          response to any Requests, or the subject matter thereof~,at any trial, hearing

                          or other proceeding;

                3.        the right to object on any ground, at any time, to a demand for further

                          responses to Defendant's Requests; and

                4.        the right at any time to revise, supplement, correct or add to these

                          Responses.

         1.     Each of the foregoing General Objections is hereby incorporated by reference in

  response to each Request regardless of whether a fRather specific objection is made with respect

  to each such Request.

         J.     Plaintiffs reserve the right to amend and/or supplement these Objections and

  Responses as permissible and deemed necessary.

         K.     Plaintiffs' Responses and any agreements to produce responsive documents are

  subject to the Protective Order entered by the Court on February 14, 2006.

         OBJECTIONS AN]) RESPONSES TO SPECIFC DOCUMENT REQUESTS

  Request No. 1:

 All documents upon which Plaintiffs rely in support of their allegations in the Complaint, and all
 documents otherwise concerning the allegations in the Complaint, including but not limited to (i)
 documents reviewed by Plaintiffs in connection with formulating their allegations or on which
 Plaintiffs otherwise rely;, (ii) communications or correspondence to or from Plaintiffs concerning


                                                    3
Case 1:05-cv-04622-DLI-RML              Document 85-4           Filed 12/19/06        Page 20 of 35 PageID
                                              #: 2129




 the allegations in the Complaint; and (iii) documents concerning or arising from any
 investigation or analysis perfumed by Plaintiffs, including but not limited to bank records, bank
 customer account records, wire transfer instructions, websile materials, business records, court
 records, and/or police or other official reports obtained as a result of such investigation or
 analysis.

        OBJECT[ON AND R~ESPONSE TO REQUEST NO. 1:

        Plaintiffs object to this Request as being overbro ad, burdensome, harassing, irrelevant to

 the claim or defense of any party, and not reasonably calculated to lead to the discovery of

 admissible evidence. Plaintiffs further object to this Request to the extent it seeks documents

 protected by the attorney work product doctrine. Documents concerning the methods by which

 Plaintiffs' attorneys have prepared, and/or may choose to prepare, their case are protected from

 disclosure and will not be produced in response to this Request. Plaintiffs need only provide

 Defendant with relevant faicts, not information surrounding any interviews conducted, for such

 information has the potential for insights into Plaintiffs' attorneys' work product concerning the

 preparation of their case. Plaintiffs further object to this Request to the extent that it calls for a

 legal conclusion. Plaintiffs further object to this request to the extent that it calls for documents

 and things that are already in the possession of Defendant, or documents that are obtainable from

 other sources, and/or in other manners, that are more convenient, less burdensome and less

 expensive.     Without waiver of the foregoing objections, Plaintiffis will produce non-

 objectionable, non-privileged documents responsive to this Request.


 REQUEST NO. 2:

 All documents concerning testimony by Plaintiffs in any lawsuit or arbitration hearing, including
 but not limited to transcripts of any pretrial deposition, declaration, affidavit or swomn trial
 testimony given by Plaintiffs in any action pending before any court or arbitral tribunal.




                                                   4
Case 1:05-cv-04622-DLI-RML             Document 85-4           Filed 12/19/06       Page 21 of 35 PageID
                                             #: 2130



         OBJECTION AND RESPONSE TO REQUEST NO. 2:

         Plaintiffs object to this Request as being overbroad, burdensome, harassing, irrelevant to

  the claimn or defense of any party, and not reasonably calculated to lead to the discovery of

  admissible evidence.   Plaintiffs further object to this Request to the extent that it calls for

  documents and things that are already in the possession of Defendant, or are obtainable from other

  sources, and/or in other maniners, that are more convenient, less burdensome and less expensive.

  Plaintiffs also object to this Request on privacy grounds, including financial privacy. Plaintiffs

  further object to this Request to the extent it requests materials which have been deemed

  confidential or are otherwise protected from disclosure by an order of a court or legal tribunal, or

  pursuant to an agreement of parties to any legal proceedings involving the Plaintiffs. Without

  waiver of the foregoing objections, Plaintiffs will produce non-objectionable, non-privileged

  responsive documents from any relevant litigation.


  REQUEST NO. 3:

  All documents sufficient to identify any lawsuit or arbitral proceeding in which Plaintiffs are
  currently, or were previously, a party, as well as all pleadings filed by or on behalf of Plantiffs
  in any such lawsuit or arbitral proceeding.

         OBJECTION AND RESPONSE TO REQUEST NO. 3:

         Plaintiff-s object to this Request as being overbroad, burdensome, harassing, irrelevant to

  the claim or defense of any party, and not reasonably calculated to lead to the discovery of

  admissible evidence.    Plaintiffs further object to this Request to the extent that it calls for

  documents and things that are already in the possession of Defendant or are obtainable fr-om other

  sources, and/or in other manners, that are more convenient, less burdensome and less expensive.

  Plaintiffs further object to this Request to the extent it requests materials which have been

  deemed confidential by a court or tribunal.          Without waiver of the foregoing objections,


                                                   5
Case 1:05-cv-04622-DLI-RML              Document 85-4          Filed 12/19/06        Page 22 of 35 PageID
                                              #: 2131




 Plaintiffis will produce non-objectionable, non-privileged documents responsive to this Request

 from any relevant litigation.


 REQUEST NO. 4:

 All documents concerning the acts that caused Plaintiffs' injuries, including but not limited to
 news articles and media reports.

         OBJECTION AND RESPONSE TO REQUEST NO. 4:

         Plaintiffs object to this Request to the extent it seeks documents protected from

  disclosure by the attorney work product doctrine. Plaintiffs fuirther object to this Request to the

  extent that it calls for documents and things that are already in the possession of Defendant, or are

  obtainable from other sources, and/or in other manners, that are more convenient, less

  burdensome and less expensive. Without waiver of the foregoing objections, Plaintiffs will

  produce non-objectionable, non-privileged or protected documents responsive to this Request.


  REQUEST NO. 5:

  All documents concerning Plaintiffs' injuries, including but not limited to medical records, death
  certificates and insurance papers.

         OBJECTION AND RESPONSE TO REQUEST NO. 5:

         Plaintiffs object to this Request as being overbroad, burdensome, and harassing. Plaintiffs

  also object to this Request on privacy grounds, including financial privacy.               Plaintiffs

  specifically object to Defendant's Request for documents concerning insurance papers on the

  grounds that documents and information concerning insurance are not admissible, nor reasonably

  calculated to lead to the discovery of admissible evidence. Without waiver of the foregoing

  objections, and as set forth in the General Objections, subject to the applicable protective order,




                                                    6
Case 1:05-cv-04622-DLI-RML              Document 85-4          Filed 12/19/06         Page 23 of 35 PageID
                                              #: 2132



  Plaintiffs will produce non-objectionable, non-privileged responsive documents that concern the

  injuries, or, in the case of a decedent, causes of death, that are alleged in this Action.


  REQUEST NO. 6:

  All documents concerning any basis upon which Plaintiffs seek compensatory damages.

          OBJECTION AN) RESPONSE TO REQUEST NO. 6:

          Plaintiffs object to this Request as being vague, overbroad, burdensome, harassing,

   irrelevant to the claim or defense of any party, and not reasonably calculated to lead to the

   discovery of admissible evidence. Plaintiffs specifically object to the term "any basis" as being

   ambiguous, vague and overbroad. Plaintiffs also object to this Request to the extent it calls for a

   legal conclusion.   Without waiver of the foregoing objections, Plaintiffs will produce non-

   objectionable, non-privileged documents responsive to this Request.


   REQUEST NO. 7:

   All documents concerning NatWest.

          OBJECTION AND) RESPONSE TO REQUEST NO. 7:

          Plaintiffs object to this Request as being vague, overbroad, burdensome, and harassing.

   Plaintiffs fur-ther object to this Request to the extent it seeks doctuments protected by the attorney

   work product doctrines which are protected from disclosure and will not be produced in response

   to this Request.    Without waiver of the foregoing objections, Plaintiffs will produce non-

   objectionable, non-privileged documents responsible to this Request.


   REQUEST NO. 8:

   All documents concerning Interpal.




                                                     7
Case 1:05-cv-04622-DLI-RML              Document 85-4          Filed 12/19/06        Page 24 of 35 PageID
                                              #: 2133




         OBJECTION AN) RESPONSE TO REQUEST NO. 8:

         Plaintiffs object to this Request as being vague, overbroad, burdensome, and harassing.

  Plaintiffs fturther object to this Request to the extent it seeks documents protected by the attorney

  work product doctrines -which are protected from disclosure and will not be produced in response

  to this Request.   Without waiver of the foregoing objections, Plaintiffs will produce non-

  objectionable, non-privileged documents responsive to this Request.


  REQUEST NO. 9

  All documents concerning any relationship between NatWest and Interpal.

         OBJECTION AND RESPONSE TO REQUEST NO. 9:

         Plaintiffs object to ths Request as being vague, overbroad, burdensome, and harassing.

  Plaintiffs specifically object to the term "any relationship" as being ambiguous, vague and

  overbroad. Plaintiffs further object to this Request to the extent that it calls for documents and

  things in the possession, custody or control of Defendant or which are obtainable from other

  sources, and/or by other means that are more convenient, less burdensome, and less expensive.

  Plaintiffs further object to this Request to the extent it seeks documents protected by the attorney

  work product doctrine. Without waiver of the foregoing objections, Plaintiffs will produce non-

  objectionable, non-privileged documents responsive to this Request.


  REQUEST NO. 10:

  All documents concerning the Union of Good.

          OBJECTION AND RESPONSE TO REQUEST NO. 10:

         Plaintiffs object to this Request as being vague, overbroad, burdensome, and harassing.

  Plaintiffs further object to this Request to the extent it seeks documents protected by the attorney



                                                    8
Case 1:05-cv-04622-DLI-RML             Document 85-4          Filed 12/19/06        Page 25 of 35 PageID
                                             #: 2134




 work product doctrines which are protected from disclosure and will not be produced in response

 to this Request    Without waiver of the foregoing objections, Plaintiffs will produce non-

 objectionable, non-privileged documents responsive to this Request.


 REQUEST NO. 11:

 All documents concerning any relationship between NatWest and the Union of Good.

         OBJECTION AND RESPONSE TO REQUEST NO. 11:

         Plaintiffs object to this Request as being vague, overbroad, burdensome, and harassing.

 Plaintiffs specifically object to the term " tany relationship" as being ambiguous, vague and

 overbroad. Plaintiffs further object to this Request to the extent that it calls for documents and

 things in the possession, custody or control of Defendant or which are obtainable from other

  sources, and/or by other means that are more convenient, less burdensome, and less expensive.

 Plaintiffs fur-ther object to this Request to the extent it seeks documents protected by the attorney

 work product doctrine. Without waiver of the foregoing objections, Plaintiffs will produce non-

  objectionable, non-privileged documents responsive to this Request.


 REQUEST NO. 12:

 All documents concerning NatWest's alleged relationship to the acts that caused Plaintiffs'
 injuries, including but not limited to any documents reflecting NatWest's collection, provision,
 and/or transmission of any support, money and/or financial services, either directly or indirectly,
 to or from (i) Interpal; (ii) the Union of Good; and/or (iii) H-AMAS.

         OBJECTION AND RESPONSE TO REQUEST NO. 12:

         Plaintiffs object to this Request to the extent it seeks documents protected from

 disclosure by the attorney work product doctrine. Plaintiffs also object to this Request to the

 extent that it calls for a legal conclusion or the production of documents concemning expert

 testimony. Plaintiffs further object to this Request to the extent that it calls for documents in the


                                                  9
Case 1:05-cv-04622-DLI-RML              Document 85-4          Filed 12/19/06        Page 26 of 35 PageID
                                              #: 2135




  possession, custody, or control of Defendant or which are obtainable from other sources, and/or by

  other means that are more convenient, less burdensome and less expensive. Without waiver of

  the foregoing objections, Plaintiffs will produce non-objectionable, non-privileged documents

  responsive to this Request.


  REQUEST NO. 13:

  All documents concerning NatWest's alleged knowledge of Interpal's alleged role in the acts that
  caused Plaintiffs' injuries.

         OBJECTION AND RESPONSE TO REQUEST NO. 13:

         Plaintiffs object to this Request as being overbroad and burdensome. Plaintiffs also object

  to this Request to the extent it seeks documents that are not relevant to the claims or defenses of

  any party, and documents that are not reasonably calculated to lead to the discovery of

  admissible evidence. Plaintiffs also object to this Request to the extent that it calls for a legal

  conclusion or expert testimony. Plaintiffs fuirther object to this Request to the extent it seeks

  documents protected by the attorney work product doctrine, which are protected from disclosure

  and will not be produced in response to this Request. Plaintiffs further object to this Request to

  the extent that it calls for documents and things in the possession, custody or control of Defendant,

  or which are obtainable from other sources, and/or by other means that are more convenient, less

  burdensome, and less expensive. Without waiver of the foregoing objections, Plaintifls will

  produce non-objectionable, non-privileged documents responsive to this Request.


  REQUEST NO. 14:

  All documents concerning NatWest's alleged knowledge of the Union of Good's alleged role in the
  acts that caused Plaintiffs' injuries.




                                                   10
Case 1:05-cv-04622-DLI-RML              Document 85-4          Filed 12/19/06        Page 27 of 35 PageID
                                              #: 2136




         OBJECTION AND) RESPONSE TO REQUEST NO. 14:

         Plaintiffs object to this Request as being overbroad and burdensome. Plaintiffis also object to

  this Request to the extent it seeks documents that are not relevant to the claims or defenses of any

  party, and documents that are not reasonably calculated to lead to the discovery of admissible

  evidence. Plantiffs also object to this Request to the exent that it calls for a legal conclusion or

  expert testimony. Plaintiffsi further object to this Request to the extent it seeks documents protected

  by the attorney work product doctrine, which are protected from disclosure and will not be

  produced in response to this Request. Plaintiffs ffurther object to this Request to the extent that it

  calls for documents and things in the possession, custody or control of Defendant, or which are

  obtainable from other sources, and/or by other means that are more convenient, less burdensome,

  and less expensive.    Without waiver of the foregoing objections, Plaintiffs will produce non-

  objectionable, non-privileged documents responsive to this Request.


  REQUEST NO. 15:

  All documents concerning the alleged relationship between Interpal and the Union of Good.

          OBJECTION AND RESPONSE TO REQUEST NO. 15:

         Plaintiffs object to this Request as being vague, overbroad, burdensome, and harassing.

  Plaintiffs specifically object to the term "alleged relationship" as being vague and overbroad.

  Plantiffs further object to this Request to the extent that it calls for documents and things that are in

  the possession, custody, or control of Defendant or which are obtainable from other sources, and/or

  by other means that are more convenient, less burdensome and less expensive. Plaintiffs further

  object to this Request to the extent it seeks documents protected by the attorney work product

  doctrine, which will not be produced in response to this Request. Without waiver of the foregoing




                                                   II
Case 1:05-cv-04622-DLI-RML               Document 85-4          Filed 12/19/06         Page 28 of 35 PageID
                                               #: 2137




  objections, Plaintiff will produce non-objectionable, non-privileged documents responsive to this

  Request.


  REQUEST NO. 16:

  All documents concerning the alleged relationship between Interpal and HAMAS.

         OBJECTION AND RESPONSE TO REQUEST NO. 16:

         Plaintiffs object to this Request as being vague, overbroad, burdensome, and harassing.

  Plaintiffs specifically object to the term "alleged relationship" as being vague and overbroad.

  Plaintiffs further object to this Request to the extent that it calls for documents and things that are in

  the possession, custody, or control of Defendant or which are obtainable from other sources, and/or

  by other means that are more convenient, less burdensome and less expensive. Plaintiffs further

  object to this Request to the extent it seeks documents protected by the attorney work product

  doctrine, which will not be produced in response to this Request. Without waiver of the foregoing

  objections, Plaintiff will produce non-objectionable, non-privileged documents responsive to this

  Request.


  REQUEST NO. 17:

   All documents concerning the alleged relationship between the Union of Good and HAMAS.

          OBJECTION AND RESPONSE TO REQUEST NO. 17:

          Plaintiffs object to this Request as being vague, overbroad, burdensome, and harassing.

   Plaintiffs specifically object to the term "alleged relationship" as being vague and overbroad.

   Plaintiffs further object to this Request to the extent that it calls for documents and things that are in

   the possession, custody, or control of Defendant or which are obtainable from other sources, and/or

   by other means that are more convenient, less burdensome and less expensive. Plaintiffs further



                                                    12
Case 1:05-cv-04622-DLI-RML              Document 85-4          Filed 12/19/06        Page 29 of 35 PageID
                                              #: 2138




  object to this Request to the extent it seeks documents protected by the attorney work product

  doctrine, which will not be produced in response to this Request. Without waiver of the -foregoing

  objections, Plaintiff will produce non-objectionable, non-privileged documents responsive to this

  Request.           -




  REQUEST NO. 18:

 All documents obtained by or on behalf of Plaintiffs concerning the allegations in the Complaint
 from any governmental authority.

         OBJECTION AND) RESPONSE TO REQUEST NO. 18:

         Plaintiffs object to this Request as being overbroad, burdensome and harassing. Plaintiffs

  specifically object to the termn "any governmental authority" as ambiguous, vague and over

  broad. Plaintiffs also object to this Request to the extent that it calls for a legal conclusion.

  Plaintiffs fur-ther object to this Request to the extent it seeks documents protected by the attorney

  work product doctrine, which will not be produced in response to this Request. Plaintiffs further

  object to this Request to the extent that it calls for documents in the possession, custody, or

  control of Defendant or which are obtainable from other sources, and/or by other means that are

  more convenient, less burdensome and less expensive.


  REQUEST NO. 19:

  All documents referred to or relied upon in Plaintiffs' Initial Disclosures, dated June 16, 2006.

         OBJECTION AND RESPONSE TO REQUEST NO. 19:

         Plaintiffs object to this Request to the extent it seeks documents protected by the attorney

  work product doctrine, which will not be produced in response to this Request. Without waiver




                                                   13
Case 1:05-cv-04622-DLI-RML            Document 85-4     Filed 12/19/06       Page 30 of 35 PageID
                                            #: 2139



  of the foregoing objections, Plaintiffs will produce any non-objectionable, non-privileged

  documents responsive to this Request.


  Date: August 14, 2006

                                                         OSEN & ASSOCIATE, LLC



                                                   By
                                                                      On(O-5790)
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                                              14
Case 1:05-cv-04622-DLI-RML            Document 85-4         Filed 12/19/06       Page 31 of 35 PageID
                                            #: 2140




                                 CERTIFICATE OF SERVICE

         ], Aaron Schlanger, hereby certify that a true and correct copy of Plaintiffs' Objections

 and Responses to Defendant National Westminster Bank, Plc's Initial Request for the Production

  of Documents was served via electronic mail and first class mail on this 14th day of August

  2006, on the following:


                               Lawrence B. Friedman, Esq.
                               CLEARY GOThLIEB STEEN & HAMILTON LU'
                               One Liberty Plaza
                               New York, New York 10006




                                              Aaron Schilange
Case 1:05-cv-04622-DLI-RML   Document 85-4   Filed 12/19/06   Page 32 of 35 PageID
                                   #: 2141




                       EXHIBIT D
         Case 1:05-cv-04622-DLI-RML     Document 85-4         Filed 12/19/06    Page 33 of 35 PageID
                                              #: 2142
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                    1   UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK
                    2   ---------------------------------------------- X
    I4
                    3   TZVI WEISS,        et al.

                    4                                  Plaintiffs,
0
                    5             -against-                                    05-CV4622CCPS) (KAM)

                    6   NATIONAL WESTMINSTER BANK,             PLC,

                    7                                  Defendant.

                    8   ---------------------------------------------- X

                    9

                   10                          Date:     March    1, 2006

                   11                          Time:     2:30 p.m.
0
                   12

                   13             VIDEOTAPED EXAMINATION           BEFORE TRIAL of Steven

                   14   Averbach,     on behalf of Plaintiffs,             taken pursuant to

                   15   Notice,    held at Ayalon House,           16th Floor,      12 Abba Hillel

                   16   Street,    Ramat-Gan,       Israel,    before a Certified Shorthand

                   17   Reporter.

                   18

                   19
0
                   20

                   21

                   22   Reported     By:

                   23   Carmnelita Lee
                        Certified Short'hand Reporter
                   24
                                                                            COPY
                        Ha Nesiyim 4/32
                        Hod HaSharon, Israel 45371
40                 25   (972) 9 740-7764
                        wordworks@012 .net. il
    Case 1:05-cv-04622-DLI-RML         Document 85-4         Filed 12/19/06        Page 34 of 35 PageID
                                             #: 2143
                                        Deposltlon of Steven Averbach, 3-1-06-Tel Aviv
                                                                                                       38


              1    miss it and I miss it.                So with the children it has been

              2    a big deal for me, and of course being with my wife is

              3    also something that            -




              4          Q.   You are not able to have any personal

*            ~~5 relationship?

              6          A.    (Witness nods.)

              7                        MR. SWIFT:        Do other counsel have questions?

*            ~~~~~8
              9                                        EXAMINATION

            10        BY MR. MODY:

            11           Q.   My name is Sanjay Mody.                 I represent the

            12        defendant National Westminster Bank in an action

            13        entitled Weiss,       et al.,      versus National Westminster

            14        Bank,   filed in the Eastern District of New York, in

            15        which you are named as a plaintiff.                      I also represent

            16        the defendant Credit Lyonnais in a separate action

            17        entitled Strauss, et al.,             versus Credit Lyonnais,             in

            18        which you are also named as a plaintiff.

*           ~~19                       I have only a handful              of questions      for you,

            20        and I want to thank you in              advance       for your patience in

            21        responding to these questions.

5           ~~22                       First, Mr. Averbach,              please describe your

             23       knowledge of Nat West.

             24          A.    None.

             25          Q.    Mr. Averbach, are you familiar with a group



                                        Carmielita Lee, Certified Shorthand Reporter
       5                                  ~~~~~~~~~~~~Ha
                                            Nesiyim 4/32, Hod HaSharon, Israel 45371
    Case 1:05-cv-04622-DLI-RML       Document 85-4            Filed 12/19/06        Page 35 of 35 PageID
                                           #: 2144

                                       flerosition of Steven Averbach, 3-1-06-Tel Aviv
                   *                                                                                  ~~~~~~~~~~~~~


             1     called interpal?

*            ~~2       A.    No,   I am not.

             3         Q.    Mr.   Averbach, please describe your knowledge of

             4     the relationship between Nat West and Interpal?

*            ~~5       A.    I don't know of any.

              6        Q.    Please describe your knowledge of Nat West's role

             7     in the terror        attack that caused your inj uries.

S            ~~8       A.    I don't       know that there           is one.

              9        Q.    Next,     Mr. Averbach,           please describe            your

             10    knowledge of Credit Lyonnais?

             11        A.    None whatsoever.

             12        Q.    Are you aware of a group called Le Comit&                           de

             13    Bienfaisance et           de Solidarit& avec la Palestine,                    which I

             14    will     refer to as CSFB?

             15        A.     I have no knowledge whatever of those groups.

*           ~~16       Q.     Please    describe your knowledge of the

             17    relationship between              Credit Lyonnais and CSFB?

             18        A.     I don't      know of any.

*           ~~19       Q.     And finally,         Mr. Averbach,           please describe your

             20    knowledge of Credit Lyonnais'                    role in       this    terror attack

             21    that     caused your injuries?

             22        A.     I don't      know of any connection between them.

             23                      MR.     MODY:      Thank you very much.

             24

             25                                         EXAMINATION



                                       Carmelita Lee,    Certified Shorthand Reporter
                                           Ha Nesiyim 4/32. Hod HaSharon, Israel 45371,
